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                        Exhibit2
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       Case 4:20-cr-00266-JST Document 143-2 Filed 09/08/22 Page 2 of 7

                                                                    FI LIED
                                                                       Scuper/or Court of California   .
                                                                         ounty of San Francisco
 1   MICHAEL ROTHENBERG
     Phone: (415) 774-6468
 2   mrothenberg@rothenberg.co
 3   Pro Se Defendant
 4
                         SUPERIOR COURT - LIMITED JURISDICTION
 5
                                 OF THE STATE OF CALIFORNIA
 6
                             CITY & COUNTY OF SAN FRANCISCO
 7

 8
     SILICON VALLEY BANK,                          Case No. CUD-21-668198
 9   A CORPORATION,
                                                   DEFENDANT
10                           Plaintiffs,           MICHAEL ROTHENBERG'S,
                                                   MOTION TO SET ASIDE
11                 vs.                             FORECLOSURE SALE
12   MICHAEL ROTHENBERG,                           D_ate: jv{_1 J 7  l O).l.
                                                   Time: 9:3Cfa.m. 1
13                           Defendant.            Dept: 501
14                                                 Judge: Charles F. Haines
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                                                                                Case No. CUD-21-668198
                                 DEFENDANT MICHAEL ROTHENBERG'S MOTION To SET ASIDE FORECLOSURE SALE
           Case 4:20-cr-00266-JST Document 143-2 Filed 09/08/22 Page 3 of 7



 1            COMES NOW, the Defendant Michael Rothenberg ("Mr. Rothenberg"), and in support of

 2   the above petition states as follows:
 3   I. -     INTRODUCTION

 4            1.      Michael Rothenberg ("Mr. Rothenberg") received a loan (the "SVB Mortgage")
 5   from Silicon Valley Bank (the "Bank" or "SVB") which was collateralized by 4is condominium,

 6   located at 712 Bryant St, Apt 6, San Francisco, CA 94107 (the '_'Rothenberg Home"). The SVB

 7   Mortgage was ultimately subjected to non-judicial foreclosure on or about September 21, 2020.

 8            2.      On June 15, 2020, the City of San Francisco issued a mandate limiting in-person

 9   gatherings to no more than twelve people~ which precluded the possibility of a lawful in-person

1o   public auction. A true and correct copy of the San Francisco mandate can be found at
11   www.sf.gov/news/small-outdoor-gatherings-indoor-retail-and-other-businesses-allowed-under-new-health-directive.

12            3.      On or about September 21, 2020 a live in-person foreclosure auction (the "Sham

13   Auction") was purportedly conducted in San Francisco, California.

14   II.      ,ARGUMENT

15            4.      SVB failed to follow the proper process for conducting a foreclosure auction thus

16   d~nying Mr. Rothenberg of his procedural due process rights. SVB procured title to the

17   Rothenberg Home by a Sham Auction that was conducted unlawfully and/or did not actually take

18   place.                                  ;,

                                                                                     '
19            5.      The Sham Auction was a fraud on Mr. Rothenberg and the public because there

20   was no auction and/or there were no bidders. Indeed, the Rothenberg Home was not sold to a third

21   party at the Sham Auction. The Bank took title to the property claiming it had "bid" $1,100,000

22   which resulted in the transfer of title of the Rothenberg Home to the Bank.

23            6.      The notion that an actual auction took place on or about September 21, 2020 in the

24   City of San Francisco is a legal impossibility. Any such "auction" would have been carried out in

25   violation of law and would thus be void for impossibility.

26            7.      Furthermore, even if there were bidders present at the Sham Auction, the notion

27   that a public auction took place is absurd. The public would be expected to violate the City of San
                                                                        \
28   Francisco's mandate against public gatherings, as well as risk exposure to Covid-19. Under ·

                                                             -1-                               Case No. CUD-21-668198
                                         DEFENDANT MICHAEL ROTHENBERG'S MOTION To SET ASIDE FORECLOSURE SALE
             Case 4:20-cr-00266-JST Document 143-2 Filed 09/08/22 Page 4 of 7



     1   normal circumstances, when public auctions are permitted tor take place and ample notice is

     2   provided, it is reasonable to consider an auction viable and valid when properly conducted.

     3          8.        However, under the circumstances of the Sham Auction, there is no possibility of

    ·4   having a viable or fair auction. Indeed, the Rothenberg Home was not sold to a third party bidder,

     5   and there is no evidence that any third party bidders were actually present. SVB used the pretense

     6   of an auction as a means of taking title to the Rothenberg Home and depriving Mr. Rothenberg of

     7   the fair market price for the property, which was in excess of the amount owed on the SVB

     8   Mortgage, and thus deprived Mr. Rothenberg of a return of his equity in the Rothenberg Home.

/    9          9.        In Bank ofAmerica etc. Assn. v. Reidy, 15 Cal.2d 243, 248, the court stated as

    10   follows: "[l]Jt is the general rule that courts have power to vacate a foreclosure sale where there

    11   has been fraud in the procurement of the foreclosure decree or where the sale has beenimproperly,

    12   unfairly or unlawfully conducted, or is tainted by fraud, or where there has been such a mistake

    13   that to allow it to stand would be inequitable to purchaser and parties. Sham bidding and the

    14   restriction of competition· are condemned, and inadequacy of price when coupled with other

    15   circumstances of fraud may also constitute ground for setting aside the sale." Id. at 248.

    16   III.   CONCLUSION

    17           10.      In the present case the "sale" of the Rothenberg Home falls precisely within the

    18   description of grounds for setting aside   aforeclosure sale because it was "improperly, unfairly
    19   [and] unlawfully conducted ... " Id. at 248. The Bank ofAmerica court's further statement that

    20   "[s]ham bidding and the restriction of competition are condem~ed [Emphasis Added]." Id. at 248.

    21   Indeed, the illegality of the Sham Auction renders it a non-event with no power to transfer title to
         \

    22   real property.

    23           11.      The Bank's willful taking of the Rothenberg Home by an illegal event is a fraud on

    24   the court, as well as a fraud against Mr. Rothenberg witl! the only effect of rendering its outcome

    25   void. It is important to distinguish between that which is "voidable" and that ,which is "void." In

    26   the present case we are not simply dealing with procedural flaws as to how an auction was carried

    27   out. On the contrary, when the outcome of an event is the transfer of property, such transfer is

    28   cannot possibly be the result of an auction if auctions cannot be lawfully conducted at the time of

                                                             -2                           Case No. CUD-21-668198
                                          DEFENDANT MICHAEL ROTHENBERG'S MOTION To SET ASIDE FORECLOSURE SALE
         Case 4:20-cr-00266-JST Document 143-2 Filed 09/08/22 Page 5 of 7



 1   the event that rendered the transfer of property. Mr. Rothenberg is entitled to a public auction in

 2   accordance with the foreclosure process required under California law.

 3           12.      Mr. Rothenberg is severely.damaged by the fraudulent taking of the Rothenberg

 4   Home in an amount of approximately $750,000 which represents the difference between the price

 5   the Bank "paid" at the Sham Auction of $1,100,000 and market value of $1,850,0,00 as of2014 as

 6   stated in SVB's own property appraisal report, a true and correct copy of the first two pages of

 7   which is attached hereto as "Exhibit A." Market prices-for San Francisco residential real estate

 8   increased significantly between ~014 and the 2020 date of the Sham Auction. The present situation

 9   in which SVB .holds title and possession of the Rothenberg Home without having held an actual

10   public auction for its sale and transfer is grossly unjust and unlawful, and requires the immediate

11   remedy of setting aside such sale and transfer of property.

12           13.      To allow a bank the ability to use its immense power and resources to deprive its
     '                                                        (

13   'borrowers of their rights to a proper foreclosure sale process, in retaliation for exposing their

14   fraudulent activity or otherwise, sends a, chilling message to other borrowers and potential
                                   )

15   borrowers. To further allow SVB the ability to unilaterally seize a homeowner's equity in excess

16   of the mortgage owed, and unlawfully enrich itself with ill-gotten gains, would be a further

17   miscarriage of justice. In the interest of fairness and justice to the public generally, the citizens of

18   San Francisco, this Court, and as well as to Mr. Rothenberg in the present case, the purported

19   foreclosure sale of the Rothenberg Property must be set aside.

20           WHEREFORE, Defendant, Michael Rothenberg prays for this Court to set aside the

21   forecl,osure sale and restore Mr. Rothenberg's rights to such real estate as existed prior to the

22   Sham, Auction.

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25
         Dated: June 30, 2022
26                                                By:4=~BERG
                                                    In Pro Per
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                                                         -3                             Case No. CUD-21-668198
                                       DEFENDANT MICHAEL ROTHENBERG'S MOTION TO SET ASIDE FORECLOSURE SALE
                                       Case 4:20-cr-00266-JST Document 143-2 Filed 09/08/22 Page 6 of 7


                                                                                                                 EXHIBIT A
                                    Propert~
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                                                                                                                                                                                                                                              1862




                                                                                                                                                                            APPRAISAL OF


    PropcrtyScicncCli
    Silicon Volley Bank
    2770 Sand Hill Rd
    Menlo Park, CA 94025


    File Number:          510951
                                                                                                                                    j




    ln accordance with your ~(Jllt$1, J have appraised the real property indicated below:




                                                            712 8rynnt  s,
                                                      San Francisco, CA 94107

    The purpose ofdus appnaisat is to estimate the marlret value of the subject, m improved. The property rights appraised arc
    I.be fee simple intaesL Jo our opinion, the estimated market value as of the specified dote _is:           (
                                                                                                                                                                   An Individual Condominium Unit



                                                           August S, 2014                                                                                                    LOCATED AT:
                                                                                                                                                                                                                                          )
                                                             Sl,850,000                                                                                                     712 Bryant St
                                         One Million Eight Hundred Fifty Thousand Doll.m                                                                               San Francisco, CA 94107
    The auarhed rcpon contains lho description,. analysis and supportive data for the coru:lusiom, fmal estimate ofv:iluc,
    descriptive photographs, limiting conditions and approprialc certifications.
                                                                                                                                                                                   FOR:
                                                                                                                                                                          Silicon Valley Bank
                                                                                                                                                                          2770 Sand Hill Rd
    Respectfully Submitted.                                                                                                                                              Menlo Park, CA 94025

          \             ('
     r-~J"*V
    Mike Stickel
    Staff Appraiser
                                                                                                                                                                             BORROWER:
                                                                                                                                                                           Michael Rothenberg
    AR029935

    The Propcny Sciences Group, Inc.
                                                                                                                                                                                  ASOF:
                                                                                                                                                                              August 5, 2014
\

                                                                                                                                                                                    BY:
                                                                                                                                                                               Mike Stickel
                                                                                                                                                                              Staff Appraiser



                                                                                                                                        395 Taylor Boulcvnrd, Suite 250, Pleas.mt Hill, CA 94523 TEL: 925-246--7300 I FAX: 925-349-7100
              395 Tn_rlorBoulevard, Suite 250. Pleasant Hill, CA 94523 TEL: 925-246-7300/ PAX: 925-349-7200
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                                    PROOF OF SERVICE


    I am a California resident. I am over the age of 18 years. On June 30, 2022, I caused to be
                         electronically served the following document(s) :

     DEFENDANT, MICHAEL ROTHENBERG'S, MOTION TO SET ASIDE
FORECLOSURE SALE; DECLARATION IN SUPPORT OF DEFENDANT, MICHAEL
      ROTHENBERG'S, MOTION TO SET ASIDE FORECLOSURE SALE

                                                 N




bye-service, email (and phone call voicemail), as follows::
                                        7



                        Attorney for Plaintiff, SILICON VALLEY BANK:




                               Breck E. Milde
                               Hopkins & Carley, ALC
                               San Jose, CA 95113

                               bmilde@hopkinscarley.com



I declare under penalty of perjury under the laws of the state of California that the foregoing is

correct.



Executed on June 30, 2022, at San Francisco, California.



Name: Michael Rothenberg




                                    PROOF OF SERVICE
